                20-11821-mg
     Fill in this                      Doc
                  information to identify your1case:
                                                   Filed   08/08/20 Entered 08/08/20 00:08:37                         Main Document
                                                                  Pg 1 of 63
     United States Bankruptcy Court for the:

     ____________________
     Southern              District
              District of New       of _________________
                                 York  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                           
                                                           
                                                               Chapter 11
                                                               Chapter 12
                                                                                                                                      Check if this is an
                                                              Chapter 13                                                                amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Kidville Opco, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                               Mailing address, if different from principal place
                                                                                                     of business
                                                                                                     PO  Box 3827
                                                                                                     _______________________________________________
                                           ______________________________________________
                                           Number     Street                                         Number      Street

                                           ______________________________________________            _______________________________________________
                                                                                                     P.O. Box

                                           ______________________________________________
                                                                                                     New York                   NY      10163
                                                                                                     _______________________________________________
                                           City                        State    ZIP Code             City                      State      ZIP Code

                                                                                                     Location of principal assets, if different from
                                                                                                     principal place of business
                                           ______________________________________________            2 Barron Place
                                           County                                                    _______________________________________________
                                                                                                     Number     Street

                                                                                                     _______________________________________________

                                                                                                     Rye                        NY      10580
                                                                                                     _______________________________________________
                                                                                                     City                      State      ZIP Code




5.    Debtor’s website (URL)                www.kidville.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Kidville Opco, LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✔ None of the above



                                           B. Check all that apply:
                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.naics.com/search/ .
                                                6116
                                                _________

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the               
                                           ✔ Chapter 7
      debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a                             Kidville Franchise Company, LLC                                   Affiliate
      business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                                  SDNY
                                                      District _____________________________________________ When                08/08/2020
                                                                                                                                __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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              Kidville Opco, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000
                                             ✔
                                                                               $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Kidville Opco, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000
                                            ✔
                                                                                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              08/08/2020
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Harry R. Harwood Jr.
                                                _____________________________________________               Harry R. Harwood Jr.
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Authorized Signatory
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Elise S. Frejka
                                                _____________________________________________              Date         08/08/2020
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Elise S. Frejka
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Frejka PLLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                420 Lexington Avenue Suite 310
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                New York
                                                ____________________________________________________            NY             10170
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                (212) 641-0800
                                                ____________________________________                              efrejka@frejka.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                EF6896                                                          NY
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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               Kidville Opco, LLC
                                                             Pg 5 of 63
 Debtor                                                                _                  Case number (if known)
              First Name     Middle Name       Last Name



                                                   Continuation Sheet for Official Form 201
10) Pending Bankruptcies

Kidville NY, LLC                    SDNY                           08/08/2020

Kidville Bethesda,                  SDNY                           08/08/2020
LLC

Kidville Union                      SDNY                           08/08/2020
Square, LLC

Kidville Garden                     SDNY                           08/08/2020
City, LLC

Kidville Lincoln                    SDNY                           08/08/2020
Park, LLC

Kidville Brentwood,                 SDNY                           08/08/2020
 LLC




   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy
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                                                                                       Pg 6 of 63

 Fill in this information to identify the case:

                Kidville Opco, LLC
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                           8,792.35
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                              8,792.35
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                            2,177.84
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          496,798.02



4. Total liabilities ...........................................................................................................................................................................          498,975.86
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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                                                                    Pg 7 of 63
  Fill in this information to identify the case:

               Kidville Opco, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Customers Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              3
                                                                                               ____    8
                                                                                                      ____    3
                                                                                                             ____   5
                                                                                                                    ____         $______________________
                                                                                                                                   3,992.61
          JPMorgan Chase Bank N.A.
    3.2. _________________________________________________  Checking
                                                           ______________________              6
                                                                                               ____    5
                                                                                                      ____    0
                                                                                                             ____   0
                                                                                                                    ____           3,211.99
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 7,204.60
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor            Kidville Opco, LLC                               Pg 8 of 63
                 _______________________________________________________         Case number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Paycom - Payment for 2020 W2s
    8.1.___________________________________________________________________________________________________________                $______________________
                                                                                                                                     1,587.75

    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
                                                                                                                                    1,587.75
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      Yes. Fill in the information below.
      ✔


                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
          Kidville Garden City, LLC
    15.1._______________________________________________________________             100
                                                                                    ________%            _____________________    $________________________
                                                                                                                                    0.00
    15.2._______________________________________________________________
          See continuation sheet                                                    ________%            _____________________    $________________________
                                                                                                                                    0.00


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
                                                                                                                                    0.00
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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                   Kidville Opco, LLC
Debtor                                                            Pg 9 of 63
                  _______________________________________________________       Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                Kidville Opco, LLC                               Pg 10 of 63
               _______________________________________________________         Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                        $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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                 Kidville Opco, LLC
 Debtor                                                        Pg 11 of 63
                _______________________________________________________      Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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                 Kidville Opco, LLC
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 Debtor                                                             Pg 12 of 63
                  _______________________________________________________         Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets                                                                               Unknown
    See Schedule A/B Part 10, Question 60 Attachment
    ______________________________________________________________                   $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                     Unknown
    See Schedule A/B Part 10, Question 61 Attachment
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill                                                                           1,000,000.00                                  Unknown
    Goodwill associated with acquisition from Kidville Inc.
    ______________________________________________________________                    $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                             page 6
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Debtor            Kidville Opco, LLC                                 Pg 13 of 63
                 _______________________________________________________           Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                       _______________     –   __________________________         =   $_____________________
                                                                       Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                     $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                        $_____________________
   ____________________________________________________________                                                                        $_____________________
78. Total of Part 11.
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                   page 7
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                   Kidville Opco, LLC
Debtor            _______________________________________________________  Pg 14 of 63   Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         7,204.60
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         1,587.75
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         8,792.35                              0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  8,792.35                                                                                         8,792.35
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                Kidville Opco, LLC                            Pg 15 of 63
 Debtor 1                                                           _                 Case number (if known)
               First Name     Middle Name       Last Name



                                                    Continuation Sheet for Official Form 206 A/B
15) Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

Kidville Franchise                   100%                                                           0.00
Company, LLC

Kidville Lincoln                     100%                                                           0.00
Park, LLC

Kidville NY, LLC                     100%                                                           0.00

Kidville Brentwood,                  100%                                                           0.00
 LLC

Kidville Union                       100%                                                           0.00
Square, LLC

Kidville Bethesda,                   100%                                                           0.00
LLC




Official Form 206 A/B                                            Schedule A/B: Property
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                                                                              Pg 16 of 63
  Fill in this information to identify the case:
              Kidville Opco, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of New York

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                                Describe debtor’s property that is subject to a lien            of collateral.            claim


      __________________________________________                                                                                   $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                    _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred           __________________               No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                     No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                                Describe debtor’s property that is subject to a lien
                                                                                                                                   $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                        _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                     No
    same property?                                                    Yes
     No                                                           Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            0
                                                                                                                                                                page 1 of ___
                  20-11821-mg           Doc 1       Filed 08/08/20 Entered 08/08/20 00:08:37                             Main Document
   Fill in this information to identify the case:                Pg 17 of 63

   Debtor
                    Kidville Opco, LLC
                    __________________________________________________________________

                                           Southern District of New York
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           4.99                       4.99
    Adriana Gonzalez                                                                                                                $_________________
                                                            Check all that apply.
    40 Amsterdam Avenue                                        Contingent
    Apt. 13F                                                   Unliquidated
    New York, NY, 10023                                        Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Deposits by individuals
    5/12/2020
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                7
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Alma Leon                                               As of the petition filing date, the claim is: $______________________
                                                                                                            267.00                    267.00
                                                                                                                                    $_________________
                                                            Check all that apply.
    225 Willow Lane
    Valley Stream, NY, 11580                                   Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Deposits by individuals
    6/12/2020
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                7
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           7.47                      7.47
    Andrea Fiore                                                                                                                    $_________________
                                                            Check all that apply.
    511 East 80th Street
                                                               Contingent
    Apt. 9G                                                    Unliquidated
    New York, NY, 10075                                        Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Deposits by individuals
    5/13/2020
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               7


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               20
                                                                                                                                         page 1 of ___
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  Debtor         _______________________________________________________     Case number (if known)_____________________________________
                 Name                                          Pg 18 of 63
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      178.00                    178.00
                                                                                                        $______________________   $_________________
      Aneliya Crawford                                  As of the petition filing date, the claim is:
      510 West 52nd Street                              Check all that apply.
      Apt PH1H                                              Contingent
      New York, NY, 10019                                   Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        6/27/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   7
       claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                      19.92                      19.92
                                                                                                        $______________________   $_________________
      Aysylu Mardanova
                                                        As of the petition filing date, the claim is:
      3311 Riverview Ave
                                                        Check all that apply.
      Englewood, NJ, 07631
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
       05/18/2020
       _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                  7
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                       31.99                     31.99
                                                                                                        $______________________   $_________________
      Camille Matlack                                   As of the petition filing date, the claim is:
      33 Caton Place                                    Check all that apply.
      Unit 3J                                               Contingent
      Brooklyn, NY, 11218                                   Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/20/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured     
                                                         ✔
                                                             No
       claim: 11 U.S.C. § 507(a) (_____)
                                   7                        Yes

  7
2.____ Priority creditor’s name and mailing address                                                     19.92
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    19.92
                                                                                                                                  $_________________
      Camille Wynn
                                                        Check all that apply.
      125 Delancey Street
      PH02
                                                            Contingent
      New York, NY, 10002
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        5/18/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   7
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                2 of ___
                                                                                                                                              page __    20
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  Debtor          _______________________________________________________    Case number (if known)_____________________________________
                  Name                                         Pg 19 of 63
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                      89.00                     89.00
                                                                                                        $______________________   $_________________
       Christina Giuliani                               As of the petition filing date, the claim is:
       550 West 54th Street                             Check all that apply.
       Unit 31B                                             Contingent
       New York, NY, 10019                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        6/24/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  9
2.____ Priority creditor’s name and mailing address                                                      9.96                       9.96
                                                                                                        $______________________   $_________________
       Christine Hendon
                                                        As of the petition filing date, the claim is:
       2631 Arlington Ave
                                                        Check all that apply.
       Bronx, NY, 10463
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/14/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  10
2.____ Priority creditor’s name and mailing address                                                       15.98                     15.98
                                                                                                        $______________________   $_________________
       Courtney McGraw                                  As of the petition filing date, the claim is:
       PO Box 146                                       Check all that apply.
       Edgewater, NJ, 07020                                 Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/16/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  11
2.____ Priority creditor’s name and mailing address                                                     133.50
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    133.50
                                                                                                                                  $_________________
      Courtney Statfeld
                                                        Check all that apply.
      305 East 86th Street
      Apt. 22GW
                                                            Contingent
      New York, NY, 10028
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        6/25/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                      7.47                      7.47
                                                                                                        $______________________   $_________________
       Dana Mazo                                        As of the petition filing date, the claim is:
       100 Jay Stree                                    Check all that apply.
       Unit 30D                                             Contingent
       Brooklyn, NY, 11201                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        05/13/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  13
2.____ Priority creditor’s name and mailing address                                                      19.92                      19.92
                                                                                                        $______________________   $_________________
       Darryl Chiang
                                                        As of the petition filing date, the claim is:
       940 Park Avenue
                                                        Check all that apply.
       Apt. 7B
       New York, NY, 10028
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/18/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  14
2.____ Priority creditor’s name and mailing address                                                       9.96                      9.96
                                                                                                        $______________________   $_________________
       David Choi                                       As of the petition filing date, the claim is:
       110 West 90th Street                             Check all that apply.
       #5C                                                  Contingent
       New York, NY, 10024                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/14/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  15
2.____ Priority creditor’s name and mailing address                                                     29.88
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    29.88
                                                                                                                                  $_________________
    Emma Ye
                                                        Check all that apply.
    408 W Main St
    Unit 3C
                                                            Contingent
    Alhambra, CA, 91801
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        6/22/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  16
2.____ Priority creditor’s name and mailing address                                                      24.90                     24.90
                                                                                                        $______________________   $_________________
       Ester Vallet                                     As of the petition filing date, the claim is:
       350 West 42nd St.                                Check all that apply.
       Apt. 55D                                             Contingent
       New York, NY, 10036                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        5/20/20
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  17
2.____ Priority creditor’s name and mailing address                                                      133.50                     133.50
                                                                                                        $______________________   $_________________
       Eva Bonime
                                                        As of the petition filing date, the claim is:
       180 West End Avenue
                                                        Check all that apply.
       Apt. 3F
       New York, NY, 10023
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/17/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  18
2.____ Priority creditor’s name and mailing address                                                       19.92                     19.92
                                                                                                        $______________________   $_________________
       Jason Hsu                                        As of the petition filing date, the claim is:
       150 East 37th Street                             Check all that apply.
       Apt. PHA                                             Contingent
       New York, NY, 10016                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/18/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  19
2.____ Priority creditor’s name and mailing address                                                     89.00
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    89.00
                                                                                                                                  $_________________
    Jeanette MacLean
                                                        Check all that apply.
    371 Sargent Road
    Boxborough, MA, 01719
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        6/21/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  20
2.____ Priority creditor’s name and mailing address                                                      23.99                     23.99
                                                                                                        $______________________   $_________________
       Jessica DuLong                                   As of the petition filing date, the claim is:
       375 Lincoln Pl.                                  Check all that apply.
       #4B                                                  Contingent
       Brooklyn, NY, 11238                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        7/13/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  21
2.____ Priority creditor’s name and mailing address                                                      66.75                      66.75
                                                                                                        $______________________   $_________________
       Jessica Holmes
                                                        As of the petition filing date, the claim is:
       555 West 53rd Street
                                                        Check all that apply.
       Apt. 1062
       New York, NY, 10019
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/20/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  22
2.____ Priority creditor’s name and mailing address                                                       29.88                     29.88
                                                                                                        $______________________   $_________________
       Jessica Van Dalsum                               As of the petition filing date, the claim is:
       11 Dustin Dr                                     Check all that apply.
       Nashua, NH, 03062                                    Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        06/22/20
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  23
2.____ Priority creditor’s name and mailing address                                                     27.39
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    27.39
                                                                                                                                  $_________________
    Josh Diamond
                                                        Check all that apply.
    414 Albemarle Road
    #5D
                                                            Contingent
    Brooklyn, NY, 11218
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        6/21/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  24
2.____ Priority creditor’s name and mailing address                                                      12.45                     12.45
                                                                                                        $______________________   $_________________
       Judy Minkoff                                     As of the petition filing date, the claim is:
       529 W. 42nd Street                               Check all that apply.
       Apt 8Z                                               Contingent
       New York, NY, 10036                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        6/15/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  25
2.____ Priority creditor’s name and mailing address                                                      22.41                      22.41
                                                                                                        $______________________   $_________________
       Juleen Yeoh
                                                        As of the petition filing date, the claim is:
       290 West End Ave
                                                        Check all that apply.
       Apt. 7C
       New York, NY, 10023
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/19/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  26
2.____ Priority creditor’s name and mailing address                                                       12.45                     12.45
                                                                                                        $______________________   $_________________
       Kathryn Roland                                   As of the petition filing date, the claim is:
       67 Hilton Ave                                    Check all that apply.
       C4                                                   Contingent
       Garden City, NY, 11530                               Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/15/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  27
2.____ Priority creditor’s name and mailing address                                                     7.47
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    7.47
                                                                                                                                  $_________________
    Kingston Arrington
                                                        Check all that apply.
    7067 Hawthorn Avenue
    Apt 12
                                                            Contingent
    Los Angeles, CA, 90028
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        5/13/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  28
2.____ Priority creditor’s name and mailing address                                                       12.45                     12.45
                                                                                                         $______________________   $_________________
       Kumiko Matsumoto                                  As of the petition filing date, the claim is:
       7701 Woodmont Ave                                 Check all that apply.
       #303                                                 Contingent
       Bethesda, MD, 20814                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                   Basis for the claim:
        6/15/2020
        _________________________________
                                                          Deposits by individuals
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  29
2.____ Priority creditor’s name and mailing address                                                       24.90                      24.90
                                                                                                         $______________________   $_________________
       Larisa Courtien
                                                         As of the petition filing date, the claim is:
       68-46 Clyde Street
                                                         Check all that apply.
       Forest Hills, NY, 11375
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
        6/20/2020
        _________________________________
                                                          Deposits by individuals
                                                          _________________________________

        Last 4 digits of account
                                                         Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  30
2.____ Priority creditor’s name and mailing address                                                        4.99                      4.99
                                                                                                         $______________________   $_________________
       Lia Simmons                                       As of the petition filing date, the claim is:
       1 Citoen Way                                      Check all that apply.
       Apt. 13F                                             Contingent
       Parsippany, NJ, 07054                                Unliquidated
                                                            Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
        05/12/2020
        _________________________________                 Deposits by individuals
                                                          _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  31
2.____ Priority creditor’s name and mailing address                                                      7.47
                                                         As of the petition filing date, the claim is: $______________________
                                                                                                                                     7.47
                                                                                                                                   $_________________
    Libby Tuttle
                                                         Check all that apply.
    424 White Oak Drive
    Morton, IL, 61550
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Deposits by individuals
                                                          _________________________________
        5/13/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  32
2.____ Priority creditor’s name and mailing address                                                      23.99                     23.99
                                                                                                        $______________________   $_________________
       Lin Jiao                                         As of the petition filing date, the claim is:
       10833 Wilshire Blvd/                             Check all that apply.
       Apt. 516                                             Contingent
       Los Angeles, CA, 90024                               Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        7/14/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  33
2.____ Priority creditor’s name and mailing address                                                      267.00                     267.00
                                                                                                        $______________________   $_________________
       Lisa Cuzmici
                                                        As of the petition filing date, the claim is:
       978 Shelburne Drive
                                                        Check all that apply.
       Franklin Square, NY, 11010
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/12/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  34
2.____ Priority creditor’s name and mailing address                                                       4.99                      4.99
                                                                                                        $______________________   $_________________
       Lisa Zucker                                      As of the petition filing date, the claim is:
       15 Phyllis Place                                 Check all that apply.
       Randolph, NJ, 07869                                  Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        5/12/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  35
2.____ Priority creditor’s name and mailing address                                                     7.47
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    7.47
                                                                                                                                  $_________________
    Meghan Carrelli
                                                        Check all that apply.
    6 Fernwood Road
    Summit, NJ, 07901
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        05/13/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  36
2.____ Priority creditor’s name and mailing address                                                      17.43                     17.43
                                                                                                        $______________________   $_________________
       Melissa Patel                                    As of the petition filing date, the claim is:
       36 Hickory Street                                Check all that apply.
       Metuchen, NJ, 08840                                  Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        6/17/20
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  37
2.____ Priority creditor’s name and mailing address                                                      17.43                      17.43
                                                                                                        $______________________   $_________________
       Michelle Michael
                                                        As of the petition filing date, the claim is:
       225 West 60th Street
                                                        Check all that apply.
       Apt 12B
       New York, NY, 10023
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        5/17/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  38
2.____ Priority creditor’s name and mailing address                                                       23.99                     23.99
                                                                                                        $______________________   $_________________
       Mihoko Kondo                                     As of the petition filing date, the claim is:
       22 Fairview Ave                                  Check all that apply.
       Unit 2H                                              Contingent
       New York, NY, 10040                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/19/20
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  39
2.____ Priority creditor’s name and mailing address                                                     15.98
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    15.98
                                                                                                                                  $_________________
    Natalie Fleming
                                                        Check all that apply.
    7717 Chatham Road
    Chevy Chase, MD, 20815
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        7/12/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  40
2.____ Priority creditor’s name and mailing address                                                      19.92                     19.92
                                                                                                        $______________________   $_________________
       Natalie Olivier                                  As of the petition filing date, the claim is:
       5207 S Indiana Ave                               Check all that apply.
       Unit 3                                               Contingent
       Chicago, IL, 60615                                   Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        7/18/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  41
2.____ Priority creditor’s name and mailing address                                                      7.47                       7.47
                                                                                                        $______________________   $_________________
       Natasa Simovska-Poposki
                                                        As of the petition filing date, the claim is:
       555 West 52nd Street
                                                        Check all that apply.

       New York, NY, 10019
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        5/13/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  42
2.____ Priority creditor’s name and mailing address                                                       23.99                     23.99
                                                                                                        $______________________   $_________________
       Natsuko Onuma                                    As of the petition filing date, the claim is:
       205 East 92nd Street                             Check all that apply.
       Unit 25A                                             Contingent
       New York, NY, 10128                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/23/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  43
2.____ Priority creditor’s name and mailing address                                                     7.47
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    7.47
                                                                                                                                  $_________________
    Nichola Gray
                                                        Check all that apply.
    71 East 77th Street
    Apt. 3C
                                                            Contingent
    New York, NY, 10075
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        5/13/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  44
2.____ Priority creditor’s name and mailing address                                                      12.45                     12.45
                                                                                                        $______________________   $_________________
       Raquel Federowicz                                As of the petition filing date, the claim is:
       2631 Arlington Avenue                            Check all that apply.
       Ridgewood, NY, 11385                                 Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        5/15/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  45
2.____ Priority creditor’s name and mailing address                                                      66.75                      66.75
                                                                                                        $______________________   $_________________
       Rebeca Abboud-Sieben
                                                        As of the petition filing date, the claim is:
       4 Laurel Lane
                                                        Check all that apply.
       Sherman, CT, 06784
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        8/3/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  46
2.____ Priority creditor’s name and mailing address                                                       14.94                     14.94
                                                                                                        $______________________   $_________________
       Red Kardasz                                      As of the petition filing date, the claim is:
       10334 E Bahia Dr                                 Check all that apply.
       Scottsdale, AZ, 85255                                Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/16/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  47
2.____ Priority creditor’s name and mailing address                                                     19.92
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    19.92
                                                                                                                                  $_________________
    Robin Love
                                                        Check all that apply.
    612 Oak Street
    Apt 9L
                                                            Contingent
    Key West, FL, 33040
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        5/18/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  48
2.____ Priority creditor’s name and mailing address                                                      7.47                      7.47
                                                                                                        $______________________   $_________________
       Ruby Tull                                        As of the petition filing date, the claim is:
       2464B 8th Street                                 Check all that apply.
       Fort Lee, NJ, 07024                                  Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        05/13/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  49
2.____ Priority creditor’s name and mailing address                                                      7.47                       7.47
                                                                                                        $______________________   $_________________
       Samantha Fontanez
                                                        As of the petition filing date, the claim is:
       1521 Unionport Rd
                                                        Check all that apply.
       Unit 7B
       Bronx, NY, 10462
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        5/13/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  50
2.____ Priority creditor’s name and mailing address                                                       31.99                     31.99
                                                                                                        $______________________   $_________________
       Sandhiya Mohan                                   As of the petition filing date, the claim is:
       160 Morgan Street                                Check all that apply.
       Unit 1002                                            Contingent
       Jersey City, NJ, 07302                               Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/14/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  51
2.____ Priority creditor’s name and mailing address                                                     59.76
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    59.76
                                                                                                                                  $_________________
    Shannon McPherson
                                                        Check all that apply.
    37 Martin Ln
    Englewood, CO, 80113
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        6/22/20
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  52
2.____ Priority creditor’s name and mailing address                                                      23.99                     23.99
                                                                                                        $______________________   $_________________
       Shengyin Gu                                      As of the petition filing date, the claim is:
       716 Almar Avenue                                 Check all that apply.
       Pacific Palisades, CA, 90272                         Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        7/10/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  53
2.____ Priority creditor’s name and mailing address                                                      9.96                       9.96
                                                                                                        $______________________   $_________________
       Tamara Gostek
                                                        As of the petition filing date, the claim is:
       67 Belgrave Avenue
                                                        Check all that apply.
       Toronto, AL, M5M3S9
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/14/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  54
2.____ Priority creditor’s name and mailing address                                                       66.75                     66.75
                                                                                                        $______________________   $_________________
       Tara Ellis                                       As of the petition filing date, the claim is:
       515 East 89th Street                             Check all that apply.
       Apt. 4D                                              Contingent
       New York, NY, 10128                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        6/24/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes

  55
2.____ Priority creditor’s name and mailing address                                                     15.98
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    15.98
                                                                                                                                  $_________________
    Ursula Johnson
                                                        Check all that apply.
    55 Midland Avenue
    Glen Ridge, NJ, 07028
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Deposits by individuals
                                                         _________________________________
        7/9/2020
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  56
2.____ Priority creditor’s name and mailing address                                                      4.99                      4.99
                                                                                                        $______________________   $_________________
       Victoria Frommer                                 As of the petition filing date, the claim is:
       25 East 83rd Street                              Check all that apply.
       Apt 11E                                              Contingent
       New York, NY, 10028                                  Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        5/11/20
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    7
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  57
2.____ Priority creditor’s name and mailing address                                                      17.43                      17.43
                                                                                                        $______________________   $_________________
       Yukari Rymar
                                                        As of the petition filing date, the claim is:
       2650 39th St NW
                                                        Check all that apply.
       Apt 1
       Washington, DC, 20007
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        5/17/2020
        _________________________________
                                                         Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   7
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  58
2.____ Priority creditor’s name and mailing address                                                       15.98                     15.98
                                                                                                        $______________________   $_________________
       Yuko Hirao                                       As of the petition filing date, the claim is:
       14916 Piney Grove Ct                             Check all that apply.
       North Potomac, MD, 20878                             Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        7/15/2020
        _________________________________                Deposits by individuals
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    7                       Yes


2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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                Name                                            Pg 32 of 63
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Alison Stumpf                                                                                                            20.00
                                                                                                                           $________________________________
                                                                              Contingent
    400 East 20th Street                                                      Unliquidated
    Apt. MA                                                                   Disputed
    New York, NY, 10009                                                                            Uncashed check - classroom supplies
                                                                           Basis for the claim:



    Date or dates debt was incurred            7/2/2020
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Austin Parker                                                          Check all that apply.                             75.00
                                                                                                                           $________________________________
    4646 Broadway                                                             Contingent
    Apt 49                                                                    Unliquidated
    New York, NY, 10040                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   Uncashed check - classroom supplies


    Date or dates debt was incurred            5/12/2020
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    BankDirect Capital Finance, LLC                                                                                          2,131.27
                                                                                                                           $________________________________
                                                                              Contingent
    P.O. Box 660448                                                           Unliquidated
    Dallas, TX, 75266-0448                                                    Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    BDO USA, LLP                                                           Check all that apply.
                                                                                                                             5,470.00
                                                                                                                           $________________________________
    P.O. Box 642743                                                           Contingent
    Pittsburgh, PA, 15264-2743                                                Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Benjamin R. Norton                                                                                                       400.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    410 Merrick Ave                                                           Contingent
    East Meadow, NY, 11554                                                    Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Uncashed check - classroom supplies

    Date or dates debt was incurred            Various
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Brynne Kaynak                                                                                                            22.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    2052 Dennis Lane                                                          Contingent
    Bethlehem, PA, 18015                                                      Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:    Uncashed check - classroom supplies

    Date or dates debt was incurred            ___________________
                                               6/4/2020                    Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
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  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 33 of 63
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             461,241.00
                                                                                                                     $________________________________
 Customers Bank                                                         Contingent
 701 Reading Avenue                                                     Unliquidated
 Reading, PA, 19611                                                     Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        04/15/2020
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Douglas Emmett 1998, LLC
 1299 Ocean Avenue                                                   
                                                                     ✔
                                                                         Contingent
 Suite 1000                                                          
                                                                     ✔
                                                                         Unliquidated
 Los Angeles, CA, 90049                                                 Disputed

                                                                     Basis for the claim: Guaranty of Lease - Brentwood



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fedex                                                               Check all that apply.
                                                                                                                      54.14
                                                                                                                     $________________________________
 PO Box 371461                                                          Contingent
                                                                        Unliquidated
 Pittsburgh, PA, 15250-7461                                             Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Megan Tischhauser                                                   Check all that apply.
 411 East 78th Street                                                   Contingent
 Apt. 1A                                                                Unliquidated
 10075                                                                  Disputed

                                                                     Basis for the claim: Uncashed check - classroom supplies



        Date or dates debt was incurred        7/2/2020
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Philadelphia Insurance Companies                                    Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 PO Box 70251                                                           Contingent
 Philadelphia, PA, 19176                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Insurance Premium



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 34 of 63
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Street Retail Inc.                                                  
                                                                     ✔   Contingent
 1626 E Jefferson Street                                             
                                                                     ✔   Unliquidated
 Attn: Robyn Sarrat                                                  
                                                                     ✔   Disputed
 Rockville, MD, 20852
                                                                     Basis for the claim: Guaranty of lease



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       26,914.45
                                                                                                                     $________________________________
 The Hartford
 PO Box 660916                                                          Contingent
 Dallas, TX, 75266-0916                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Insurance Premium



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Voya Financial                                                      Check all that apply.
                                                                                                                      375.00
                                                                                                                     $________________________________
 PO Box 75131                                                           Contingent
 Charlotte, NC, 28275-0131                                              Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.16
                                                                                                                     $________________________________
 Worthy of Love                                                      Check all that apply.
 5550 Grosvenor Blvd.                                                   Contingent
 #312                                                                   Unliquidated
 Los Angeles, CA, 90066                                                 Disputed

                                                                     Basis for the claim: Uncashed check - classroom supplies



        Date or dates debt was incurred        4/23/2020
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                    Name                                             Pg 35 of 63
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Internal Revenue Service
4.1.      Centralized Insolveny Operation                                                      Line _____
          PO Box 7436                                                                                                                           ________________
          Philadelphia, PA, 19101-7346                                                         
                                                                                               ✔     Not listed. Explain:
                                                                                               Notice Purposes Only
          New York State Dept of Taxation and Finance
4.2.
          Bankrutpcy Section                                                                   Line _____
          PO Box 5300                                                                             
                                                                                                  ✔ Not listed. Explain                         ________________
          Albany, NY, 12205-0300
                                                                                               Notice Purposes Only
4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              20
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 Debtor        _______________________________________________________    Case number (if known)_____________________________________
               Name                                         Pg 36 of 63
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          2,177.84
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     496,798.02
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                498,975.86
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __
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 Fill in this information to identify the case:

             Kidville Opco, LLC
 Debtor name __________________________________________________________________

                                         Southern District of New
 United States Bankruptcy Court for the:______________________          York
 Case number (If known):    _________________________                        7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Guaranty of Brentwood lease                       Douglas Emmett 1998, LLC
         State what the contract or    Lessee                                            1299 Ocean Avenue
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Suite 1000
                                                                                         Santa Monica, CA, 90401
         State the term remaining
         List the contract number of
         any government contract

                                       Employment Agreement                              Harry R. Harwood Jr.
         State what the contract or                                                      PO Box 3827
 2.2     lease is for and the nature
         of the debtor’s interest                                                        New York, NY, 10163

         State the term remaining
         List the contract number of
         any government contract

                                       Escrow Agreement dated February                    Kidville, Inc.
         State what the contract or    10, 2020
 2.3     lease is for and the nature
         of the debtor’s interest      Purchaser

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Kidville Opco, LLC

                                         Southern District of New York
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Kidville Bethesda,            Kidville Bethesda, LLC
 2.1
                                     PO Box 3827                                                         Street Retail Inc.
                                                                                                          _____________________               D
       LLC                                                                                                                                   ✔ E/F
                                                                                                                                             
                                     New York, NY 10163                                                                                       G




 2.2                          Kidville Brentwood, LLC
                              PO Box 3827                                                                Douglas   Emmett 1998, LLC D
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                              101636                                                                                                          G
       Kidville Brentwood, LLC



 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
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Fill in this information to identify the case:
             Kidville Opco, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern                    District of _________
                                                 District of New York
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                               61,894.09
           fiscal year to filing date:           02/10/2020
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                 From ___________         to     ___________          Operating a business                               0.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:       From ___________         to     ___________          Operating a business                               0.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                                                                             0.00
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From 02/10/2020
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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                 Kidville Opco, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Kidville, Inc.
             __________________________________________       ________        $_________________
                                                                               48,462.77                         Secured debt
             Creditor’s name
              PO Box 3827
                                                                                                                 Unsecured loan repayments
              New York, NY 10163                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔     Other _______________________________


     3.2.

              Kidville Franchise Company, LLC                 ________        $_________________
                                                                               9,315.35                          Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              PO Box 3827
              New York, NY 10163                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔     Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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                 Kidville Opco, LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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                 Kidville Opco, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                Kidville Opco, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
     ✔
            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.
                                                                                                                         ______________      $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    163 East 84th Street                                                                               From        02/2020
                                                                                                                          ____________       To   07/2020
                                                                                                                                                  ____________
            New York, NY 10028




   14.2.                                                                                                       From       ____________       To   ____________




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                 Kidville Opco, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                              Location where patient records are maintained (if different from facility
                                                              address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                              Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      Personally Identifiable Information
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                 
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                 
                 ✔   No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                            Employer identification number of the plan

                        _______________________________________________________________________                 EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Kidville Opco, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                      Server/books & records                           No
             Vastnet
             ______________________________________
            Name
                                                                                                                                                      
                                                                                                                                                      ✔ Yes

             900 Walt Whitman Rd
             Melville, NY 11747

                                                            Address




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Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

           Kidville NY, LLC                                                                                EIN: ________________________
   25.1.     __________________________________
            Name                                                                                           Dates business existed
             PO Box 3827
             New York, NY 10163
                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

           Kidville Franchise Company, LLC                                                                 EIN: ________________________
             __________________________________
            Name                                                                                           Dates business existed
             PO Box 3827
             New York, NY 10163
                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.   Kidville Lincoln Park, lLC                                                                      EIN: ________________________
             __________________________________
            Name
                                                                                                           Dates business existed
             PO Box 3827
             New York, NY 10163

                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Carlos Mercado                                                                                  From 02/10/2020
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               07/28/2020
              PO Box 3827, New York, NY 10163                                                                 To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Harry R. Harwood Jr.
                    ______________________________________________________________________________
                    Name
                     PO Box 3827, New York, NY 10163




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    N/A
                     ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Kidville Opco, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Kidville Holdings, LLC                      PO Box 3827, New York, NY 10163                         Managing Member                         99


 Kidville Management, Corp.                  PO Box 3827, New York, NY 10163                         Member                                  1




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
     
     ✔       Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
              Kidville Opco, LLC
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
     
     ✔       Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund
              Kidville, Inc. 401k Plan 805935
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       08/08/2020
                               _________________
                                MM / DD / YYYY



              /s/ Harry R. Harwood Jr.
              ___________________________________________________________                              Harry R. Harwood Jr.
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Authorized Signatory
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                            Case number (if known)



                                                Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Paycom Payroll, LLC,                       $205,339.97
7501 West Memorial Road,
Oklahoma City, OK 73142

Voya Financial, P.O. Box                   $7,904.81
75131, Charlotte, NC
28275

Frejka PLLC, 420                           $30,000.00
Lexington Avenue Suite
310, New York, NY 10170

Scott M. Sosnik, CPA LLC,                  $8,995.00
 715 Holly Court,
Norwood, NJ 07648


17) Pension Contributions

Kidville, Inc. 401k Plan                   XX-XXXXXXX
805935


25) Other businesses in which the debtor has or has had an interest

Kidville Garden City, LLC                  PO Box 3827, New York,
                                           NY 10163

Kidville Besthesda, LLC                    PO Box 3827, New York,
                                           NY 10163

Kidville Brentwood, LLC                    PO Box 3827, New York,
                                           NY 10163

Kidville Union Square,                     PO Box 3827, New York,
LLC                                        NY 10163


31) Tax consolidation groups

No




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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Kidville Opco, LLC                                                              7
__________________________________________________________ Chapter __________________

                                   LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                Security Class
                                                              (Or Percentage)       (or kind of interest)

 Kidville Holdings, LLC                                      99
 PO Box 3827, New York, NY 10163




 Kidville Management, Corp.                                  1                      Limited partner
 PO Box 3827, New York, NY 10163
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 Fill in this information to identify the case and this filing:

              Kidville Opco, LLC
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/08/2020
        Executed on ______________                          /s/ Harry R. Harwood Jr.
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Harry R. Harwood Jr.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                United States Bankruptcy Court
                                 Southern District of New York




         Kidville Opco, LLC
In re:                                                            Case No.

                                                                  Chapter    7
                      Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               08/08/2020                          /s/ Harry R. Harwood Jr.
Date:
                                                   Signature of Individual signing on behalf of debtor

                                                   Authorized Signatory
                                                   Position or relationship to debtor
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Adriana Gonzalez                                      Camille Matlack
40 Amsterdam Avenue                                   33 Caton Place
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Alison Stumpf                                         Camille Wynn
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Apt. MA                                               PH02
New York, NY 10009                                    New York, NY 10002


Alma Leon                                             Christina Giuliani
225 Willow Lane                                       550 West 54th Street
Valley Stream, NY 11580                               Unit 31B
                                                      New York, NY 10019

Andrea Fiore
511 East 80th Street                                  Christine Hendon
Apt. 9G                                               2631 Arlington Ave
New York, NY 10075                                    Bronx, NY 10463


Aneliya Crawford                                      Courtney McGraw
510 West 52nd Street                                  PO Box 146
Apt PH1H                                              Edgewater, NJ 07020
New York, NY 10019

                                                      Courtney Statfeld
Austin Parker                                         305 East 86th Street
4646 Broadway                                         Apt. 22GW
Apt 49                                                New York, NY 10028
New York, NY 10040

                                                      Customers Bank
Aysylu Mardanova                                      701 Reading Avenue
3311 Riverview Ave                                    Reading, PA 19611
Englewood, NJ 07631

                                                      Dana Mazo
BankDirect Capital Finance, LLC                       100 Jay Stree
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Dallas, TX 75266-0448                                 Brooklyn, NY 11201


BDO USA, LLP                                          Darryl Chiang
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                                                      New York, NY 10028

Benjamin R. Norton
410 Merrick Ave                                       David Choi
East Meadow, NY 11554                                 110 West 90th Street
                                                      New York, NY 10024

Brynne Kaynak
2052 Dennis Lane                                      Douglas Emmett 1998, LLC
Bethlehem, PA 18015                                   1299 Ocean Avenue
                                                      Suite 1000
                                                      Los Angeles, CA 90049
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Douglas Emmett 1998, LLC                              Jessica Van Dalsum
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Santa Monica, CA 90401

                                                      Josh Diamond
Emma Ye                                               414 Albemarle Road
408 W Main St                                         Brooklyn, NY 11218
Unit 3C
Alhambra, CA 91801
                                                      Judy Minkoff
                                                      529 W. 42nd Street
Ester Vallet                                          Apt 8Z
350 West 42nd St.                                     New York, NY 10036
Apt. 55D
New York, NY 10036
                                                      Juleen Yeoh
                                                      290 West End Ave
Eva Bonime                                            Apt. 7C
180 West End Avenue                                   New York, NY 10023
Apt. 3F
New York, NY 10023
                                                      Kathryn Roland
                                                      67 Hilton Ave
Fedex                                                 C4
PO Box 371461                                         Garden City, NY 11530
Pittsburgh, PA 15250-7461

                                                      Kidville Brentwood, LLC
Harry R. Harwood Jr.                                  PO Box 3827
PO Box 3827
New York, NY 10163
                                                      Kidville, Inc.

Internal Revenue Service
Centralized Insolveny Operation                       Kingston Arrington
PO Box 7436                                           7067 Hawthorn Avenue
Philadelphia, PA 19101-7346                           Apt 12
                                                      Los Angeles, CA 90028

Jason Hsu
150 East 37th Street                                  Kumiko Matsumoto
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Jessica DuLong                                        Lia Simmons
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                                                      Parsippany, NJ 07054

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New York, NY 10019                                    Morton, IL 61550
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Lin Jiao                                           Natsuko Onuma
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Lisa Cuzmici                                       New York State Dept of Taxation and Finance
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                                                   Albany, NY 12205-0300

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                                                   Apt. 3C
                                                   New York, NY 10075
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                                                   PO Box 70251
                                                   Philadelphia, PA 19176
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                                                   2631 Arlington Avenue
                                                   Ridgewood, NY 11385
Melissa Patel
36 Hickory Street
Metuchen, NJ 08840                                 Rebeca Abboud-Sieben
                                                   4 Laurel Lane
                                                   Sherman, CT 06784
Michelle Michael
225 West 60th Street
Apt 12B                                            Red Kardasz
New York, NY 10023                                 10334 E Bahia Dr
                                                   Scottsdale, AZ 85255

Mihoko Kondo
22 Fairview Ave                                    Robin Love
Unit 2H                                            612 Oak Street
New York, NY 10040                                 Apt 9L
                                                   Key West, FL 33040

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7717 Chatham Road                                  Ruby Tull
Chevy Chase, MD 20815                              2464B 8th Street
                                                   Fort Lee, NJ 07024

Natalie Olivier
5207 S Indiana Ave                                 Samantha Fontanez
Unit 3                                             1521 Unionport Rd
Chicago, IL 60615                                  Unit 7B
                                                   Bronx, NY 10462

Natasa Simovska-Poposki
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                                                   Unit 1002
                                                   Jersey City, NJ 07302
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Shannon McPherson
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Shengyin Gu
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Street Retail Inc.
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Attn: Robyn Sarrat
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Voya Financial
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Worthy of Love
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Los Angeles, CA 90066


Yukari Rymar
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Yuko Hirao
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North Potomac, MD 20878
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                                      United States Bankruptcy Court
                                                             Southern District of New York
                                               __________________________________
     In re   Kidville Opco, LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         6,320.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 6,320.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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       d. [Other provisions as needed]
? All consultations to prepare and file the original petition, schedules and accompanying documents as required by the United State Bankruptcy
Code;
? Preparation of the written consent to the filing, schedules and accompanying documents as required by the United State Bankruptcy Code;
? Special written and/or telephone notice to creditors advising them of the Court?s automatic stay. The Bankruptcy Court will provide notice official
notice to all creditors within three (3) to four (4) weeks of filing;
? Appearance at initial, and any continued, meeting of creditors;
? Communications with creditors and Chapter 7 Trustee and responding to inquiries regarding the bankruptcy filing; and
? General communications with Client throughout the period of the bankruptcy




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
N/A
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

      08/08/2020                        /s/ Elise S. Frejka, EF6896
    _____________________              _________________________________________
    Date                                      Signature of Attorney
                                        Frejka PLLC
                                       _________________________________________
                                             ​Name of law firm
                                        420 Lexington Avenue
                                        Suite 310
                                        New York, NY 10170
                                        (212) 641-0800
                                        efrejka@frejka.com
